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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

 SANDRA BAKER,

        Plaintiff,

 -vs-
                                                  CASE NO.:
 CREDENCE RESOURCE
 MANAGEMENT, LLC,

        Defendant.
                                      /

                     COMPLAINT AND DEMAND FOR JURY TRIAL

         COMES NOW Plaintiff, Sandra Baker, by and through the undersigned counsel,

 and sues Defendant, Credence Resource Management, LLC, and in support thereof

 respectfully alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. §

 227 et seq. (“TCPA”) and the Florida Consumer Collection Practices Act, Fla. Stat. §

 559.55 et seq. (“FCCPA”).

                                   INTRODUCTION

         1.      The TCPA was enacted to prevent companies like Defendant from

 invading American citizen’s privacy and prevent abusive “robo-calls.”

         2.      “The TCPA is designed to protect individual consumers from receiving

 intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132

 S.Ct., 740, 745, 181, L.Ed. 2d 881 (2012).

         3.      “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

 *1256 scourge of modern civilization, they wake us up in the morning; they interrupt our



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 dinner at night; they force the sick and elderly out of bed; they hound us until we want to

 rip the telephone out of the wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings

 presumably intended to give telephone subscribers another option: “telling the auto-

 dialers to simply stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th

 Cir. 2014).

        4.       According    to   the   Federal   Communications    Commission      (FCC),

 “Unwanted calls and texts are the number one complaint to the FCC. There are thousands

 of complaints to the FCC every month on both telemarketing and robocalls. The FCC

 received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler Proposal

 to Protect and Empower Consumers Against Unwanted Robocalls, Texts to Wireless

 Phones,       Federal     Communications          Commission,      (May     27,     2015),

 http://transition.fcc.gov/Daily_Releases/Daily_Business/2015/db0527/DOC-

 333676A1.pdf.

                              JURISDICTION AND VENUE

        5.       This is an action for damages exceeding Seventy-Five Thousand Dollars

 ($75,000.00), exclusive of attorney fees and costs.

        6.       Jurisdiction and venue for purposes of this action are appropriate and

 conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

 violations of the TCPA.

        7.       Subject matter jurisdiction, federal question jurisdiction, for purposes of

 this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

 district courts shall have original jurisdiction of all civil actions arising under the


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 Constitution, laws, or treaties of the United States; and this action involves violations of

 47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

 and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014).

         8.      The alleged violations described herein occurred in Hillsborough County,

 Florida. Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2)

 as it is the judicial district in which a substantial part of the events or omissions giving

 rise to this action occurred.

                                 FACTUAL ALLEGATIONS

         9.      Plaintiff is a natural person, and citizen of the State of Florida, residing in

 Hillsborough County, Florida.

         10.     Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

         11.     Plaintiff is an “alleged debtor.”

         12.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755

 F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th

 Cir. 2014).

         13.     Defendant is a corporation with its principal place of business located at

 17000 Dallas Parkway, Suite 204, Dallas, Texas 75248, and which conducts business in

 the State of Florida through its registered agent, Corporation Service Company, located at

 1201 Hays Street, Tallahassee, Florida 32301-2525.

         14.     The debt that is the subject matter of this Complaint is a “consumer debt”

 as defined by Florida Statute §559.55(6).

         15.     Defendant is a “creditor” as defined in Florida Statute §559.55(5).



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        16.     Defendant called Plaintiff on Plaintiff’s cellular telephone approximately

 two hundred (200) times in an attempt to collect a medical debt.

        17.     Defendant attempted to collect an alleged debt from Plaintiff by this

 campaign of telephone calls.

        18.     Upon information and belief, some or all of the calls the Defendant made

 to Plaintiff’s cellular telephone number were made using an “automatic telephone dialing

 system” which has the capacity to store or produce telephone numbers to be called, using

 a random or sequential number generator (including but not limited to a predictive dialer)

 or an artificial or pre-recorded voice; and to dial such numbers as specified by 47 U.S.C §

 227(a)(1) (hereinafter “auto-dialer calls”). Plaintiff will testify that she knew it was an

 auto-dialer because of the vast number of calls she received and because she heard a

 pause when she answered her phone before a voice came on the line and she also

 received pre-recorded and/or artificial messages from Defendant.

        19.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

 number (717) ***-2692 and was the called party and recipient of Defendant’s calls.

        20.     Defendant placed an exorbitant number of autodialed calls to Plaintiff’s

 cellular telephone (717) ***-2692 in an attempt to collect on a medical debt.

        21.     The auto-dialer calls from Defendant are initiated from phone numbers

 including but not limited to: 410-826-0186 and 410-826-0238, and when those numbers

 are dialed an artificial voice answers and says, “Thank you for calling Credence Resource

 Management.”




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         22.     On several occasions over the last four (4) years Plaintiff instructed

 Defendant’s agent(s) to stop calling her cellular telephone. For example, shortly after the

 calls began Plaintiff answered a call from Defendant and advised an agent of Defendant

 that she wanted the calls to her cellular telephone to stop.

         23.     Each subsequent call from Defendant to Plaintiff’s cellular telephone

 number was without the Plaintiff’s “express consent.”

         24.     Each subsequent call from Defendant to Plaintiff’s cellular telephone

 number was knowing and willful.

         25.     Defendant has a corporate policy to use an automatic telephone dialing

 system or a pre-recorded or artificial voice to individuals just as it did to Plaintiff’s

 cellular telephone in this case.

         26.     Defendant has a corporate policy to use an automatic telephone dialing

 system or a pre-recorded or artificial voice just as it did to Plaintiff’s cellular telephone in

 this case, with no way for the consumer, Plaintiff, or Defendant, to remove the cellular

 telephone number.

         27.     Defendant’s corporate policy is structured so as to continue to call

 individuals like Plaintiff, despite these individuals explaining to Defendant that they wish

 for the calls to stop.

         28.     Defendant has numerous other federal lawsuits pending against it alleging

 similar violations as stated in this Complaint.

         29.     Defendant has numerous complaints across the country against it asserting

 that its automatic telephone dialing system continues to call despite requested to stop.



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         30.    Defendant has had numerous complaints from consumers across the

 country against it asking to not be called; however, Defendant continues to call the

 consumers.

         31.    Defendant’s corporate policy provided no means for Plaintiff to have her

 cellular telephone number removed from Defendant’s call list.

         32.    Defendant has a corporate policy to harass and abuse individuals despite

 actual knowledge the called parties do not wish to be called.

         33.    Not a single call placed by Defendant to Plaintiff were placed for

 “emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

         34.    Defendant willfully and/or knowingly violated the TCPA with respect to

 Plaintiff.

         35.    From each and every call placed without consent by Defendant to

 Plaintiff’s cellular telephone, Plaintiff suffered the injury of invasion of privacy and the

 intrusion upon her right of seclusion.

         36.    From each and every call without express consent placed by Defendant to

 Plaintiff’s cellular telephone, Plaintiff suffered the injury of occupation of her cellular

 telephone line and cellular telephone by unwelcome calls, making the cellular telephone

 unavailable for legitimate callers or outgoing calls while the cellular telephone was

 ringing from Defendant’s calls.

         37.    From each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of

 her time. For calls she answered, the time she spent on the call was unnecessary as she



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 repeatedly asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste

 time to unlock the cellular telephone and deal with missed call notifications and call logs

 that reflected the unwanted calls. This also impaired the usefulness of these features of

 Plaintiff’s cellular telephone, which are designed to inform the user of important missed

 communications.

        38.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone was an injury in the form of a nuisance and annoyance to

 Plaintiff. For calls that were answered, Plaintiff had to go to the unnecessary trouble of

 answering them. Even for unanswered calls, Plaintiff had to waste time to unlock the

 cellular telephone and deal with missed call notifications and call logs that reflected the

 unwanted calls. This also impaired the usefulness of these features of Plaintiff’s cellular

 telephone, which are designed to inform the user of important missed communications.

        39.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone resulted in the injury of unnecessary expenditure of

 Plaintiff’s cellular telephone’s battery power.

        40.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone where a voice message was left which occupied space in

 Plaintiff’s cellular telephone or network.

        41.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone resulted in the injury of a trespass to Plaintiff’s chattel,

 namely her cellular telephone and her cellular telephone services.




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         42.     As a result of the calls described above, Plaintiff suffered an invasion of

 privacy. Plaintiff was also affected in a personal and individualized way by stress, and

 nervousness.

                                          COUNT I
                                   (Violation of the TCPA)

         43.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through

 forty-two (42) as if fully set forth herein.

         44.     Defendant willfully violated the TCPA with respect to Plaintiff, especially

 for each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff

 notified Defendant that she wished for the calls to stop.

         45.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s

 cellular telephone using an automatic telephone dialing system or prerecorded or artificial

 voice without Plaintiff’s prior express consent in violation of federal law, including 47

 U.S.C § 227(b)(1)(A)(iii).

         WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

 triable and judgment against Credence Resource Management, LLC, for statutory

 damages, punitive damages, actual damages, treble damages, enjoinder from further

 violations of these parts and any other such relief the court may deem just and proper.

                                          COUNT II
                                  (Violation of the FCCPA)

         46.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through

 forty-two (42) as if fully set forth herein.




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           47.   At all times relevant to this action is subject to and must abide by the laws

 of the State of Florida, including Florida Statute § 559.72.

           48.   Defendant has violated Florida Statute § 559.72(7) by willfully

 communicating with the debtor or any member of his or her family with such frequency

 as can reasonably be expected to harass the debtor or his or her family.

           49.   Defendant has violated Florida Statute § 559.72(7) by willfully engaging

 in other conduct which can reasonably be expected to abuse or harass the debtor or any

 member of his or her family.

           50.   Defendant’s actions have directly and proximately resulted in Plaintiff’s

 prior and continuous sustaining of damages as described by Florida Statute § 559.77.

           WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

 triable and judgment against Credence Resource Management, LLC, for statutory

 damages, punitive damages, actual damages, costs, interest, attorney fees, enjoinder from

 further violations of these parts and any other such relief the court may deem just and

 proper.

                                                Respectfully submitted,

                                                   /s/Frank H. Kerney, III, Esquire
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